Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 1 of 9




                      Exhibit 28
        FILED UNDER SEAL
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 2 of 9

       Protected - Subject to Further Protective Review

                                                                    Page 1
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


        IN RE: XARELTO (RIVAROXABAN)          ) MDL 2592
        PRODUCTS LIABILITY LITIGATION ) SECTION L
                                              )
        THIS DOCUMENT RELATES TO ALL          ) JUDGE ELDON E. FALLON
        CASES                                 )
                                              ) MAG. JUDGE NORTH
        ______________________________)


          PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW


         VIDEOTAPED DEPOSITION OF JOACHIM H. IX, M.D., MAS


                            LA JOLLA, CALIFORNIA
                              DECEMBER 6, 2016




                      REPORTED BY: AUDREY L. RICKS,
                       CSR No. 12098, CCR, RPR, CLR




           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 3 of 9

       Protected - Subject to Further Protective Review

                                                                    Page 2
   1                  UNITED STATES DISTRICT COURT
   2                  EASTERN DISTRICT OF LOUISIANA
   3
   4    IN RE: XARELTO (RIVAROXABAN)          ) MDL 2592
        PRODUCTS LIABILITY LITIGATION ) SECTION L
   5                                          )
        THIS DOCUMENT RELATES TO ALL          ) JUDGE ELDON E. FALLON
   6    CASES                                 )
                                              ) MAG. JUDGE NORTH
   7    ______________________________)
   8
   9
 10
 11
 12             VIDEOTAPED DEPOSITION OF JOACHIM H. IX, MD,
 13     MAS, taken on behalf of the Defendants, at 3299
 14     Holiday Court, La Jolla, California, commencing at
 15     9:03 a.m. and ending at 5:24 p.m., Tuesday, December
 16     6, 2016, before Audrey L. Ricks, RPR, CCR, CLR,
 17     Certified Shorthand Reporter, No. 12098.
 18
 19
 20
 21
 22
 23
 24
 25



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 4 of 9

       Protected - Subject to Further Protective Review

                                                                    Page 3
   1    APPEARANCES:
   2
   3    For Plaintiff:
   4                 LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY
                      & PROCTOR, P.A.
   5                 BY:   NED McWILLIAMS, ESQ.
   6                 316 South Baylen Street, Suite 600
   7                 Pensacola, Florida 32502
   8                 850-435-7000
   9                 nmcwilliams@levinlaw.com
  10
  11    For Plaintiff:
  12                 GOZA & HONNOLD, L.L.C.
  13                 BY:   BRADLEY D. HONNOLD, ESQ.
  14                 11181 Overbrook Road, Suite 200
  15                 Leawood, Kansas 66211
  16                 913-451-3433
  17                 bhonnold@gohonlaw.com
  18
  19    For Defendant Janssen Pharmaceuticals:
  20                 THOMPSON & KNIGHT LLP
  21                 BY: TIMOTHY E. HUDSON, ESQ.
  22                 1722 Routh Street, Suite 1500
  23                 Dallas, Texas 75201
  24                 214-969-1540
  25                 tim.hudson@tklaw.com



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 5 of 9

       Protected - Subject to Further Protective Review

                                                                    Page 4
   1    APPEARANCES: (Continued)
   2
   3    For Defendant Bayer:
   4                 NELSON MULLINS
   5                 BY: ERIC A. PAINE, ESQ.
   6                 -AND-
   7                 BY: WESLEY T. MORAN, ESQ.
   8                 1320 Main Street, 17th Floor
   9                 Columbia, South Carolina 29201
  10                 803-255-9585
  11                 eric.paine@nelsonmullins.com
  12                 wes.moran@nelsonmullins.com
  13
  14    Also Present:
  15                 Craig Ellingson - Legal Video Specialist
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 6 of 9

       Protected - Subject to Further Protective Review

                                                                  Page 296
   1    range, I would wonder why that's the case, and I
   2    would begin to ask colleagues in the laboratory or
   3    in hematology about, you know, what the possible
   4    etiologies of that are.
   5                 So I -- putting that aside, if PT is
   6    normal at all ranges of kidney function, it would be
   7    my opinion that rivaroxaban blood concentrations are
   8    likely to be low.
   9          Q      Now, in your own clinical practice, have
  10    you had patients who experienced elevated PT while
  11    taking rivaroxaban?
  12          A      I don't know.      I will tell you that I
  13    first learned about the relationship of rivaroxaban
  14    blood concentrations in PT through my work in
  15    reviewing literature for this -- for this deposition
  16    or this MDL.
  17                 So I did not appreciate the relationship
  18    of rivaroxaban with PT levels prior to this review;
  19    and so therefore, I don't know that I knew to look
  20    in patients I had before then.
  21          Q      And I know I'm sure we touched on this
  22    earlier today, but since you were approached about
  23    being an expert in this litigation, back in, I
  24    think, it was August; is that right?
  25          A      I think it was.



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 7 of 9

       Protected - Subject to Further Protective Review

                                                                  Page 299
   1    them and saying, "Hey, you know, this might be
   2    something we want to do going forward.              We should
   3    keep an eye on PT while we're looking at, you know,
   4    patients' renal function"?
   5          A      No.
   6          Q      You haven't done that?
   7          A      I have not, although I do would that,
   8    again, in my own private practice or my -- the care
   9    of my own patients.
  10          Q      Now, is any medical society that you're
  11    aware of endorsed a monitoring plan or protocol for
  12    patients taking Xarelto who have decreased renal
  13    function?
  14          A      No.    Not that I'm aware of.
  15          Q      Are you aware of any statement by the FDA
  16    to the effect that patients with declining renal
  17    function or impaired renal function who take
  18    rivaroxaban should be monitored in any particular
  19    way or at any particular time?
  20          A      Yes.
  21          Q      And where did that come from?
  22          A      Just the packaging for rivaroxaban.
  23    There's been changes over time that suggest
  24    monitoring of kidney function serially as clinically
  25    indicated is not recommended.



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 8 of 9

       Protected - Subject to Further Protective Review

                                                                  Page 316
   1    BY MR. PAINE:
   2          Q      Are you aware of whether FDA has approved
   3    any test or laboratory procedure specifically to
   4    monitor or evaluate the anticoagulant effects of
   5    rivaroxaban?
   6          A      I am not.
   7          Q      We talked about this a little bit earlier
   8    today, and I think we got a little sidetracked.
   9    Entirely my fault.        But you had told us a little bit
  10    about your special status or special government
  11    employee status with respect to FDA.
  12                 I don't want to revisit that again, but I
  13    think I failed to ask you:          Have you served on any
  14    FDA advisory committees in the past?
  15          A      No.
  16          Q      Have you ever served in any kind of an
  17    advisory capacity or consulting capacity for FDA?
  18          A      No.
  19          Q      Have you ever had any occasion to
  20    contribute comments or suggestions or drafts
  21    regarding a pharmaceutical drug label?
  22          A      You asked -- have I had the opportunity.
  23          Q      Or have you done that?
  24          A      No.
  25          Q      Have you had any other roles with the FDA



           Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5113-34 Filed 01/20/17 Page 9 of 9

       Protected - Subject to Further Protective Review

                                                                  Page 322
   1                       REPORTER'S CERTIFICATION
   2            I, Audrey L. Ricks, Certified Shorthand
   3    Reporter, Certified Shorthand Reporter Number 12098,
   4    in and for the State of California, do hereby
   5    certify:
   6             That the foregoing witness was by me duly
   7    sworn to testify to the truth, the whole truth, and
   8    nothing but the truth in the within-entitled cause;
   9             That said deposition was taken at the time
  10    and place herein set forth;
  11              That the deposition is a true record of the
  12    witness's testimony as reported to the best of my
  13    ability by me, a duly certified shorthand reporter
        and a disinterested person, and was thereafter
  14    transcribed under my direction into typewriting by
  15    computer;
  16              That request [ X ] was [          ] was not made to
  17    read and correct said deposition.
  18                 IN WITNESS WHEREOF, I have subscribed my
  19    name on this __7th__ day of _December__, 2016.
  20
  21
  22
  23                       ____________________________
  24                       Audrey L. Ricks, CSR 12098
  25                       CCR, RPR, CLR



           Golkow Technologies, Inc. - 1.877.370.DEPS
